                   Case 1:07-cr-00049-DHB-BKE Document 61 Filed 06/07/19 Page 1 of 1
 GASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to ]8 U.S.C. § 3582(cXl)(B)      Page 1 of2(Pag? 21Jorfor Public Disclosure)
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                                         United States District Coui^^ilTTV
                                                              Southern District of Georgia
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                                                                 Augusta Division
                                                                                                              CLERK;--.
                     United States of America
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                                    V.

           Reginald Demarco Smith (True Name), aka                               Case No:       CRl07-00049-001
      Reginald Demarco Barnes, Reginald Bernard Barnes,
     Reginald Damon Barnes, Reginald Leach,"Gunslinger
                                                                                 USMNo:         12911-021
Date of Origina] Judgment:         February 21, 2008
Date of Previous Amended Judgment: June 15, 2010                                Richard E. Allen
(Use Date ofLast Amended Judgment ifAny)                                        Defendant's Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                         PURSUANT TO 18 U.S.C.§ 3582(c)(1)(B)
        Upon motion of ^the defendant O the Director ofthe Bureau of Prisons C]the court under 18 U.S.C.
§ 3582(c)(1)(B)for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent ^at they are applicable,
IT IS ORDERED that the motion is:
          □ DENIED.            ^ GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the lastjudgment issued) of                       168                   months is reduced to                      Time Served                  .
                             (See Page 2 for additional parts. Complete Parts I and II ofPage 2 when motion is granted)
In addition to reducing the imprisonment term as noted above, the previously imposed term of supervised release shall
remain as previously imposed. Furthermore, the Defendant's Motion for appointment of counsel is dismissed as moot.




Except as otherwise provided, all provisions of the judgment dated /^bruary 21,2008                             shall remain in effect.
IT IS SO ORDERED.

Order Date:
                                                                                                     Judge's signature

Effective Date:        dune 14, 2019                                 Dudley H. Bowen, Jr.
                                                                     United States District Judge
                     Ofdifferent from order date)                                                  Printed name and title
